
233 Md. 607 (1963)
195 A.2d 612
THOMAS
v.
WARDEN OF MARYLAND PENITENTIARY
[App. No. 75, September Term, 1963.]
Court of Appeals of Maryland.
Decided December 10, 1963.
*608 Before the full Court.
PER CURIAM:
Application for leave to appeal from a denial of post conviction relief is denied for the reasons set out in the opinion of Judge Foster in the court below, and for the further reason that after a voluntary plea of guilty, entered in his presence by privately retained counsel, all of the irregularities now claimed were waived, and would not have been available, even on direct appeal. Case v. State, 228 Md. 551, 554. Cf. Roberts v. Warden, 221 Md. 576, 580.
